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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO



MICHAEL MAHONEY,                           )                     CASE NO. 1:21-cv-00626
                                           )
       Plaintiff,                          )                     JUDGE JAMES S. GWIN
                                           )
vs.                                        )                     ORDER
                                           )
AVIVA METALS, INC., et al.,                )
                                           )
       Defendants.                         )


       Upon representation of counsel and parties that the above-captioned case has been

settled between the parties, IT IS ORDERED that the docket be marked, "settled and

dismissed with prejudice.”

       Parties are to file any subsequent order setting forth different terms and conditions

relative to the settlement and dismissal of the within action as directed. Any such order

shall supersede this order.

       FURTHER, the Court retains continuing jurisdiction to resolve disputes concerning

the memorialization of this settlement agreement. See Kokkonen v. Guardian Life Ins. Co.,

511 U.S. 375 (1994).



Dated: September 24, 2021                         s/ James S. Gwin
                                                  JAMES S. GWIN
                                                  UNITED STATES DISTRICT JUDGE
